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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


   MASTEROBJECTS, INC.,                      )
                                             )
                                             )   Civil Action No. 6:20-cv-00087
           Plaintiff,                        )
                                             )
   v.                                        )    JURY TRIAL DEMANDED
                                             )
   FACEBOOK, INC.                            )
                                             )
           Defendant.                        )


                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT




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       MasterObjects, Inc. (“MasterObjects” or “Plaintiff”) hereby files its complaint against

Facebook, Inc. (“Facebook” or “Defendant”). For its complaint, MasterObjects alleges, on

personal knowledge as to its own acts and on information and belief as to all other matters, as

follows:

                              I.      NATURE OF THE ACTION

       1.       This complaint asserts causes of action for patent infringement under the Patent

Act, 35 U.S.C. §§ 1 et. seq., including § 271.

                                         II.     PARTIES

       2.       MasterObjects is a corporation organized under the laws of the State of Delaware,

with its principal place of business in Zeist, Utrecht, Netherlands.

       3.       Facebook is a corporation organized under the laws of the State of Delaware, with

its principal place of business in Menlo Park, California.

                             III.    JURISDICTION AND VENUE

       4.       This Court has subject matter jurisdiction over this matter by virtue of 28 U.S.C. §

1338(a).

       5.       This Court has general personal jurisdiction over Facebook because Facebook

maintains regular and established places of business in Texas. Facebook has multiple offices in

Texas, including multiple, large offices in Austin, and a data center valued in excess of $1 billion

spread across more than 100 acres in Fort Worth.

       6.       Further, this Court has specific personal jurisdiction over Facebook in this action

pursuant to due process and the Texas Long Arm Statute, because Facebook has committed acts

giving rise to this action within Texas and within this judicial District. Defendant also regularly

does business or solicits business in this District and in Texas, and engages in other persistent



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courses of conduct. The claims asserted herein arise out of or are related to Facebook’s

voluntary contacts with this forum, such voluntary contacts including but not limited to: (i) at

least a portion of the actions complained of herein; (ii) purposefully and voluntarily placing one

or more Accused Instrumentalities into the stream of commerce with the expectation that they

will be used by consumers in this forum; or (iii) regularly doing or soliciting business, engaging

in other persistent courses of conduct, or deriving substantial revenue from Accused

Instrumentalities provided to individuals in Texas and in this District. Defendant has

purposefully engaged in substantial, continuous, and systematic contacts within this District, and

should reasonably expect to be sued in a court in this District. Given these contacts, the Court’s

exercise of jurisdiction over Defendant will not offend traditional notions of fair play and

substantial justice.

        7.       Venue is proper in this Court by virtue of 28 U.S.C. § 1400(b), in that Facebook

has committed acts of infringement in this District, and has regular and established places of

business in this District.

        8.       Facebook maintains multiple offices in Austin, Texas, which it staffs with roughly

1,200 employees. See https://www.bizjournals.com/austin/news/2019/09/04/first-look-facebook-

headcount-swells-as-social.html (last visited Jan. 30, 2020). Facebook recently opened an office

at 607 W. Third St., Austin. This new office occupies 11 floors—accounting for 256,500 square

feet of office space—and has room for 1,550 employees. Facebook also occupies four floors at

300 W. 6th St., Austin. Id. Facebook has additional offices within this District. Id. Facebook

has maintained an office in Austin since at least 2010. Id. Facebook’s offices in this District

house employees from at least twelve different Facebook teams, including: (1) software

engineering; (2) enterprise engineering; (3) infrastructure; (4) data & analytics; (5) legal, finance,



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facilities & admin.; (6) sales & marketing; (7) global operations; and (8) design & user

experience. See https://www.facebook.com/careers/locations/austin/?locations[0]=Austin%2C

%20TX (last visited Jan. 30, 2020). As of January 30, 2020, open Facebook positions in Austin

included: engineering manager, global operations engineering; data engineer; hardware systems

engineer; systems project manager, solutions; technology program manager; VP of partner

operations; SMB marketing manager, global business marketing; and vertical marketing

manager, e-commerce. Facebook has regular and established places of business in this District.

                                        IV.   BACKGROUND.

        A.       The Plaintiff MasterObjects and its Search Technology.

        9.       From the earliest days of Internet search, the search process has been hampered

by what is known as the “request-response loop.” The user would type a query into a static input

field, click a “submit” or “search” button, wait for the query to be sent to a remote database, wait

for the result set to be returned to the server, wait for the server to build an HTML page, wait for

the page to load into the browser, and then wait for the client window to be redrawn so that the

result set could be viewed. Inherent in the “request-response loop” is the pragmatic reality that,

if the result set did not match user expectations, the entire process had to be repeated, iteratively,

until the results satisfied the user.

        10.      Plaintiff MasterObjects is a software company founded by Mark Smit. Mr. Smit

is a named inventor of each of the patents asserted here. In 1999 and 2000, Mr. Smit was a

young computer scientist working on relational databases and complex document search and

retrieval issues for a technology company near Amsterdam. He found the technology frustrating

and slow, and thought he could do better. Accordingly, he left his job and put his life savings in

a new company founded to develop better computer search technology. He called the company



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MasterObjects.

         11.   By the summer of 2001, Mr. Smit had conceived of a new computer search

paradigm. He created a way to have instant search results provided as the user typed in

characters in a search request. Mr. Smit’s technique uses asynchronous communications

between the user’s computer and the server performing the search. In the old search model, the

communication was “synchronous,” i.e., the server would sit idle until the user hit submit,

whereupon the server would do its work, and then return the information to the client. As the

client worked, the server waited; as the server communicated, the client waited.

         12.   To break this “request-response loop,” Mr. Smit understood that he needed a new

way to communicate that was asynchronous, i.e., the client and the server could talk to each

other within a session in a non-blocking way. In other words, the server and the client could

communicate at the same time rather than the server waiting until the client finished and vice

versa.

         13.   Mr. Smit also envisioned that the servers would store common prior search

queries and related results. Storing this information, along with the asynchronous

communication, allowed the computer system to quickly associate a few characters of a new

request with a pre-existing model of the same request and results thereto, and provide suggested

results right away. For example, as a user searching for information about an indoor arena in

Manhattan types, “mad” becomes “madi,” then later “madison sq,” and then out pops search

results for “madison square garden.” As the user types in a query, the server provides

increasingly relevant and responsive information (e.g., information relating to Mad Magazine,

then James Madison, then Madison Square Garden). These inventive techniques provide useful

search results much faster and more efficiently than prior computer systems, improving



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computer system functionality, and thereby providing a sophisticated digital search platform.

       14.     The patents asserted in this lawsuit embody Mr. Smit’s inventions. The claimed

features are not merely well-understood, routine, and conventional computer functions; rather

they are novel and distinct improvements on the prior approaches known in the art. These novel

claimed features improve the functioning of the computer system that implements them. For

example, the asynchronous communication feature improves the operation of both the client

computer and the server by allowing the two to communicate at the same time, thereby reducing

latency and improving the timeliness of results. As another example, storing prior search queries

and related results improves the operation of both the client computer and the server system by

enabling common search requests and results to be retrieved quickly while utilizing fewer system

resources to accomplish this task. As another example, displaying relevant search results in real

time (e.g. while the user is entering the query) improves the operation of the client computer by

enabling it to provide more accurate and timely results to users while bypassing the slow and

frustrating “request-response loop” common in prior systems.

       B.      The Patents-In-Suit.

       15.     The patents asserted here are MasterObjects’: (1) U.S. Patent No. 8,539,024 (the

“’024 Patent”), entitled “System and Method for Asynchronous Client Server Session

Communication;” (2) United States Patent No. 9,760,628 (the “’628 Patent”), entitled “System

and Method for Asynchronous Client Server Session Communication;” (3) United States Patent

No. 10,311,073 (the “’073 Patent”), entitled “System and Method for Asynchronous Retrieval of

Information From a Server to a Client Based On Incremental User Input;” and (4) United States

Patent No. 10,394,866 (the “’866 Patent”), entitled “System and Method for Asynchronous

Client Server Session Communication,” collectively, the “Patents-in-Suit.”



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        16.     Each of the Patents-in-Suit have been assigned to MasterObjects. Plaintiff

MasterObjects is the sole legal and rightful owner of each of the Patents-in-Suit.

        17.     The ’024 Patent was duly and legally issued on September 17, 2013. A true and

correct copy of the ’024 Patent is attached as Exhibit A. The ’024 Patent covers sending a full

input string. Under claim 1, for example, a client object sends query messages to the server

system, with the term “query messages” representing the lengthening string of characters. See

Claim 1, ’024 Patent (“a server system, including one or more computers, which is configured to

receive query messages from a client object . . . whereby the query messages represent the

lengthening string . . . .”).

        18.     The ’024 Patent has been the subject of prior proceedings, including

MasterObjects, Inc. v. Google Inc., No. 4:15-cv-01775-PJH (N.D. Cal.), MasterObjects, Inc. v.

Yahoo! Inc., No. 3:13-cv-04326-JSW (N.D. Cal.), MasterObjects, Inc. v. eBay Inc., No. 06824-

JSW (N.D. Cal.), and eBay Inc. v. MasterObjects, Inc., IPR2017-00740 (Pat. Trial & App.

Board) (the “IPR”).

        19.     The IPR was an inter partes review involving ’024 Patent claims 1-3, 6-7, 9, 12,

15-17, 21, 24-26, and 32-37. All of the ’024 Patent’s independent claims were involved claims.

The Patent Trial and Appeal Board (“PTAB”) issued a Final Written Decision finding all of the

involved claims patentable. A true and correct copy of the Final Written Decision is attached as

Exhibit B. The PTAB found that Kravets (U.S. Patent No. 6,704,727) did not anticipate

involved claims; that involved claims were non-obvious over Kravets; and that involved claims

were non-obvious over the combination of Kravets and Bauer (U.S. Patent No. 6,751,603). The

PTAB found that the ’024 Patent’s independent claims recite specific “usability test[s],” and that

Kravets does not disclose or teach the claimed tests.



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       20.     eBay Inc. appealed the Final Written Decision to the Federal Circuit. The parties

to the IPR jointly moved to voluntarily dismiss the appeal. The Federal Circuit dismissed the

appeal. An inter partes review certificate issued on June 11, 2019. The IPR certificate

confirmed the patentability of the involved ’024 Patent claims.

       21.     The ’628 Patent was duly and legally issued on September 12, 2017. A true and

correct copy of the ’628 Patent is attached as Exhibit C.

       22.     The ’073 Patent was duly and legally issued on June 4, 2019. A true and correct

copy of the ’073 Patent is attached as Exhibit D.

       23.     The ’866 Patent was duly and legally issued on August 27, 2019. A true and

correct copy of the ’866 Patent is attached as Exhibit E. The ’866 Patent is a continuation of the

’628 Patent, and the ’628 Patent is a continuation of the ’024 Patent. The ’073 Patent is related

to the ’866 Patent’s great-grandparent.

       C.      The Infringing Facebook Instrumentalities.

       24.     Facebook’s predictive search, both for its full website and mobile website

(“Facebook Predictive Search”), including at least the functionality known as Facebook

Typeahead, as supported by Facebook’s backend system known as Unicorn, infringes claims of

the Patents-in-Suit.

       25.     In addition, Facebook’s predictive search for client applications and platforms it

makes, sells, and/or distributes, including the Facebook applications for the iOS and Android

mobile phone platforms (“Facebook Applications”), including at least the functionality known as

Facebook Typeahead, as supported by Facebook’s backend system known as Unicorn, infringes

claims of the Patents-in-Suit.

       26.     Facebook Predictive Search and Facebook Applications (collectively the



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“Accused Instrumentalities”) meet all the elements of claims of the Patents-in-Suit. Facebook

infringes the Patents-in-Suit.

       27.     Exemplary illustrations of aspects of Facebook Predictive Search are below:




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                                             V.      NOTICE.

        28.     The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein.

        29.     Facebook has been on constructive notice of the Patents-in-Suit. MasterObjects

ceased product sales by at least January 2013. The Patents-in-Suit all issued after January 2013.

More, MasterObjects’ website states that its technology is protected by the ’024 Patent. Further,

prior to this action, the ’628, ’073 and ’866 Patents were not asserted. MasterObjects has

complied with, and/or MasterObjects need not comply with, 35 U.S.C. § 287(a).

        30.     At least by filing and serving this complaint, MasterObjects has given Facebook

actual written notice of the Patents-in-Suit and of Facebook’s infringement thereof.

                                             VI.     CLAIMS.

        A. Infringement of United States Patent No. 8,539,024.

        31.     MasterObjects repeats, realleges, and incorporates by reference, as if fully set

forth herein, the allegations of paragraphs 1 to 30 above.

        32.     Facebook infringes claims of the ’024 Patent. Facebook, without authority,

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makes, uses, imports, offers to sell, and/or sells instrumentalities that practice inventions covered

by claims of the ’024 Patent. Facebook Predictive Search and/or Facebook Applications meet all

of the elements of claims of the ’024 Patent, including, all the elements of the ’024 Patent, Claim

1. Facebook controls and benefits from each Facebook Predictive Search and/or Facebook

Applications element that meets each limitation of at least ’024 Patent, Claim 1. Facebook has

been, is currently, and continues to, directly infringing at least Claim 1 of the ’024 Patent in

violation of 35 U.S.C. § 271(a), literally or under the doctrine of equivalents, through Facebook

Predictive Search and/or Facebook Applications, that practice the inventions disclosed in the

’024 Patent.

       33.     As of the filing and service of this complaint, Facebook’s infringement of the

’024 Patent has been and continues to be willful and deliberate. Facebook’s post-complaint

filing, post-complaint service conduct has been egregious.

       34.     As a result of the infringement by Facebook, MasterObjects has been damaged,

and will continue to be damaged, until Facebook is enjoined from further acts of infringement.

       35.     Facebook will continue to infringe unless enjoined by this Court. MasterObjects

faces real, substantial and irreparable damage and injury of a continuing nature from

infringement for which MasterObjects has no adequate remedy at law.

       B. Infringement of United States Patent No. 9,760,628.

       36.     MasterObjects repeats, realleges, and incorporates by reference, as if fully set

forth herein, the allegations of paragraphs 1 to 30 above.

       37.     Facebook infringes claims of the ’628 Patent. Facebook, without authority,

makes, uses, imports, offers to sell, and/or sells instrumentalities that practice inventions covered

by claims of the ’628 Patent. Facebook Predictive Search and/or Facebook Applications meet all



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of the elements of claims of the ’628 Patent, including, all the elements of the ’628 Patent, Claim

13. Facebook controls and benefits from each Facebook Predictive Search and/or Facebook

Applications element that meets each limitation of at least ’628 Patent, Claim 13. Facebook has

been, is currently, and continues to, directly infringing at least Claim 13 of the ’628 Patent in

violation of 35 U.S.C. § 271(a), literally or under the doctrine of equivalents, through Facebook

Predictive Search and/or Facebook Applications, that practice the inventions disclosed in the

’628 Patent.

       38.     As of the filing and service of this complaint, Facebook’s infringement of the

’628 Patent has been and continues to be willful and deliberate. Facebook’s post-complaint

filing, post-complaint service conduct has been egregious.

       39.     As a result of the infringement by Facebook, MasterObjects has been damaged,

and will continue to be damaged, until Facebook is enjoined from further acts of infringement.

       40.     Facebook will continue to infringe unless enjoined by this Court. MasterObjects

faces real, substantial and irreparable damage and injury of a continuing nature from

infringement for which MasterObjects has no adequate remedy at law.

       C. Infringement of United States Patent No. 10,311,073.

       41.     MasterObjects repeats, realleges, and incorporates by reference, as if fully set

forth herein, the allegations of paragraphs 1 to 30 above.

       42.     Facebook infringes claims of the ’073 Patent. Facebook, without authority,

makes, uses, imports, offers to sell, and/or sells instrumentalities that practice inventions covered

by claims of the ’073 Patent. Facebook Predictive Search and/or Facebook Applications meet all

of the elements of claims of the ’073 Patent, including, all the elements of the ’073 Patent, Claim

1. Facebook performs each Facebook Predictive Search and/or Facebook Applications step that



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meets each limitation of at least ’073 Patent, Claim 1. Facebook has been, is currently, and

continues to, directly infringing at least Claim 1 of the ’073 Patent in violation of 35 U.S.C. §

271(a), literally or under the doctrine of equivalents, through Facebook Predictive Search and/or

Facebook Applications, that practice the inventions disclosed in the ’073 Patent.

       43.     As of the filing and service of this complaint, Facebook’s infringement of the

’073 Patent has been and continues to be willful and deliberate. Facebook’s post-complaint

filing, post-complaint service conduct has been egregious.

       44.     As a result of the infringement by Facebook, MasterObjects has been damaged,

and will continue to be damaged, until Facebook is enjoined from further acts of infringement.

       45.     Facebook will continue to infringe unless enjoined by this Court. MasterObjects

faces real, substantial and irreparable damage and injury of a continuing nature from

infringement for which MasterObjects has no adequate remedy at law.

       D. Infringement of United States Patent No. 10,394,866.

       46.     MasterObjects repeats, realleges, and incorporates by reference, as if fully set

forth herein, the allegations of paragraphs 1 to 30 above.

       47.     Facebook infringes claims of the ’866 Patent. Facebook, without authority,

makes, uses, imports, offers to sell, and/or sells instrumentalities that practice inventions covered

by claims of the ’866 Patent. Facebook Predictive Search and/or Facebook Applications meet all

of the elements of claims of the ’866 Patent, including, all the elements of the ’866 Patent, Claim

1. Facebook performs each Facebook Predictive Search and/or Facebook Applications step that

meets each limitation of at least ’866 Patent, Claim 1. Facebook has been, is currently, and

continues to, directly infringing at least Claim 1 of the ’866 Patent in violation of 35 U.S.C. §

271(a), literally or under the doctrine of equivalents, through Facebook Predictive Search and/or



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Facebook Applications, that practice the inventions disclosed in the ’866 Patent.

       48.        As of the filing and service of this complaint, Facebook’s infringement of the

’866 Patent has been and continues to be willful and deliberate. Facebook’s post-complaint

filing, post-complaint service conduct has been egregious.

       49.        As a result of the infringement by Facebook, MasterObjects has been damaged,

and will continue to be damaged, until Facebook is enjoined from further acts of infringement.

       50.        Facebook will continue to infringe unless enjoined by this Court. MasterObjects

faces real, substantial and irreparable damage and injury of a continuing nature from

infringement for which MasterObjects has no adequate remedy at law.

                                  VII.    PRAYER FOR RELIEF.

WHEREFORE, MasterObjects prays for entry of judgment as follows:

       51.        Judgment in MasterObjects’s favor and against Facebook on all causes of action

alleged herein;

       52.        That the Patents-in-Suit are valid and enforceable;

       53.        That Facebook has infringed one or more claims of each of the Patents-in-Suit;

       54.        That Facebook’s infringement of the Patents-in-Suit was willful;

       55.        That Facebook account for and pay to MasterObjects all damages caused by the

infringement of the Patents-in-Suit, which by statute can be no less than a reasonable royalty

with respect to each Patent-in-Suit;

       56.        That the damages to MasterObjects with respect to each Patent-in-Suit be

increased by three times the amount found or assessed pursuant to 35 U.S.C. § 284 and that

Facebook account for and pay to MasterObject the increased amounts;

       57.        That this be adjudicated an exceptional case and MasterObjects be awarded its



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attorneys’ fees in this action pursuant to 35 U.S.C. § 285;

        58.       That this Court issue preliminary and final injunctions enjoining Facebook, its

officers, agents, servants, employees and attorneys, and any other person in active concert or

participation with them, from continuing the acts herein complained of with respect to

infringement of the Patents-in-Suit, and more particularly, that Facebook and such other persons

be permanently enjoined and restrained form further infringing the Patents-in-Suit;

        59.       That MasterObjects be granted pre-judgment and post-judgment interest on the

damages caused to it by reason of Facebook’s conduct at the maximum legal rates provided by

statute or law;

        60.       That this Court award MasterObjects its costs and disbursements in this civil

action, including reasonable attorneys’ fees; and

        61.       That MasterObjects be granted such other and further relief as the Court may

deem just and proper under the circumstances.

                                             VIII.        JURY DEMAND

        62.       MasterObjects demands a jury trial on all causes of action, claims, or issues in this

action that are triable as a matter of right to a jury.


 Dated February 5, 2020                               Respectfully submitted,

                                                      /s/ Leslie V. Payne
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